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   1
       Steve W. Berman                              Elizabeth A. Fegan
       HAGENS BERMAN SOBOL                          FEGAN SCOTT LLC
   2   SHAPIRO LLP                                  150 S. Wacker Dr., 24th Floor
   3   1301 Second Avenue, Suite 2000               Chicago, IL 60606
       Seattle, WA 98101
   4

   5   Kenneth B. McClain                           Roland Tellis
       HUMPHREY FARRINGTON &                        BARON & BUDD, P.C.
   6   McCLAIN, P.C.                                15910 Ventura Blvd., Suite 1600
   7   221 W. Lexington Ave., Suite 400             Encino, CA 91436
       Independence, MO 64050
   8

   9 Plaintiffs’ Consumer Class Action Leadership Committee

  10
                         UNITED STATES DISTRICT COURT
  11
                        CENTRAL DISTRICT OF CALIFORNIA
  12

  13
                                                   Case No.: 8:22-ml-03052-JVS-KES
  14   In Re: KIA HYUNDAI VEHICLE THEFT
  15   MARKETING, SALES PRACTICES,      NOTICE OF LODGING PUTATIVE
       AND PRODUCTS LIABILITY           OBJECTIONS AND INTENTIONS
  16   LITIGATION                       TO APPEAR AT FAIRNESS
  17                                    HEARING
  18

  19   This document relates to:
  20                                               Judge: Hon. James V. Selna
                                                   Date: July 15, 2024
  21   ALL CONSUMER CLASS ACTION                   Time: 1:30 p.m.
  22   CASES                                       Courtroom: 10C
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            NOTICE OF LODGING OBJECTIONS AND INTENTIONS TO APPEAR AT FAIRNESS HEARING
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   1           Plaintiffs hereby give Notice of Lodging of the following communications,
   2 attached hereto as Exhibits 1-89, sent to Class Counsel as putative objections to the

   3 Hyundai and Kia Vehicle Theft Litigation Consumer Plaintiffs Amended Settlement

   4 Agreement (the “Settlement”) or notices of intent to appear at the Fairness Hearing.1

   5

   6           Exhibit      Name                          Nature of Submission
               Number
   7               1        Crystal Adams                 Objection
   8               2        James Aldridge                Objection
                   3        Alexandria Amaki              Objection
   9               4        Jerad Anderson                Objection
  10               5        John Milford                  Objection
                   6        Tomea Bean                    Objection
  11
                   7        Kristi Boyes                  Objection
  12               8        Amanda Broussard              Objection
                   9        Jacob Carey                   Objection
  13
                  10        Eva Chalabi                   Objection
  14              11        Maria Coiley                  Objection
  15
                  12        Matthew Conrardy              Objection
                  13        Sophie Cook                   Notice of Intent to Appear
  16              14        Susanne Cosentino             Objection
  17              15        Laini Dakar                   Objection
                  16        Tomera J. Davis               Objection
  18              17        Caraballo De Jesus            Objection
  19              18        Casey DeKam                   Objection
                  19        Alexis DiPietro               Notice of Intent to Appear
  20
                  20        Danielle Dunlap               Objection
  21              21        Sharry Edwards                Objection
                  22        Elena Ehrlich                 Objection
  22
                  23        Gloria Felts                  Objection
  23              24        Phyllis Killibrew Flanders    Objection
  24
                  25        Shauntiquea Foston            Objection
                  26        Braunwynn Franklin            Objection
  25              27        Brandon Fraser                Objection
  26
       1
           As discussed in Plaintiffs’ Reply in Support of Final Approval of Class Settlement
  27 and Class Counsel Fee and Expense Award, many of the putative objections are not

  28 valid.
                                                      1
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   1           28      Amy Gann                      Objection
               29      Roesia Gerstein               Objection
   2           30      Brenda L. Grall               Objection
   3           31      Ronald Green                  Objection
               32      Mariah Guerrero               Objection
   4           33      Tia Hadnot                    Objection
   5           34      Crystal Harrel                Objection
               35      James Hartman                 Objection
   6
               36      June Hunt                     Objection
   7           37      Jerry Jones                   Objection
               38      Meghan S. Jones               Objection
   8
               39      Coreen Keller                 Objection
   9           40      Ryan Kennedy                  Objection
  10           41      Eric Kracht                   Objection
               42      Richard Ladouceur             Objection
  11           43      Eric Langland                 Objection
  12           44      Garren Laymon                 Objection
               45      Robin McCormack               Objection
  13           46      Glenn McDowell                Objection
  14           47      Patricia McElderry            Objection
               48      Joseph Messina                Objection
  15
               49      Alyson Mickey                 Objection
  16           50      David Mickinac                Objection
               51      Jacqueline Minemier           Objection
  17
               52      Mardi Minx                    Objection
  18           53      Taimane Walls Mitchell        Objection
  19
               54      Chris Moretti                 Objection
               55      Marcela Andrea Nicol          Objection
  20           56      Angela Northness              Objection
  21           57      Daryl Olszewski               Objection
               58      Michael Olvera                Objection
  22           59      Muhammad Omer                 Objection
  23           60      Dana Perantie                 Objection
               61      Nancy Pawlowski               Objection
  24
               62      Sabrina Perry                 Objection
  25           63      John Paul Podgornik           Objection
               64      Travis Preston                Objection
  26
               65      Jill Puleo                    Objection
  27           66      David Quezada                 Objection
  28
               67      Philip Ricciardi              Objection
                                                  2
           NOTICE OF LODGING OBJECTIONS AND INTENTIONS TO APPEAR AT FAIRNESS HEARING
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   1            68       Kylee Reinholtz               Objection
                69       Robin Serino                  Objection
   2            70       Bassel Shanab                 Objection
   3            71       Bill Simser                   Objection
                72       Tyler Skarda                  Objection
   4            73       Michael Smith                 Objection
   5            74       Jacob Steinberg               Objection
                75       Cindy Suddreth                Objection
   6
                76       Jhaza Tanner                  Objection
   7            77       Shadrika Thomas               Objection
                78       Wanda Thomas                  Notice of Intent to Appear
   8
                79       Steven Trostle                Objection
   9            80       Brandon Unruh                 Objection
  10            81       David Watson                  Objection
                82       Debra Watson                  Objection
  11            83       Wesley Watson                 Objection
  12            84       Wyatt Watson                  Objection
                85       Kimberly Williams             Objection
  13            86       Katherine Wittig              Objection
  14            87       Brenda Page Barler            Objection
                88       Christopher Bouton            Objection
  15
                89       Charles Hedges                Objection
  16        In accordance with Federal Rule of Civil Procedure 5.2 and Local Rule 5.2-1,
  17 Class Counsel has redacted certain confidential and personal identifiable information

  18 contained in the attached communications. Should the Court require this redacted

  19 information, Class Counsel will provide the unredacted information for review in

  20 camera.

  21        In addition to the putative objections attached hereto, Class Counsel received the
  22 objections filed by putative Class members Ruth Rubin and Donald Birner, which were

  23 filed with the Court. Dkt. Nos. 371, 407.

  24 Dated: June 17, 2024.              Respectfully Submitted.
  25
                                         By: /s/ Steve W. Berman
  26
                                              Steve W. Berman, Esq.
  27                                          HAGENS BERMAN SOBOL SHAPIRO
                                              LLP
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                                                   3
            NOTICE OF LODGING OBJECTIONS AND INTENTIONS TO APPEAR AT FAIRNESS HEARING
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   1
                                           1301 Second Avenue, Suite 2000
                                           Seattle, Washington 98101
   2                                       Telephone: 206-623-7292
   3                                       Facsimile: 206-623-0594
                                           Email: steve@hbsslaw.com
   4

   5                                   By: /s/ Elizabeth A. Fegan
                                          Elizabeth A. Fegan, Esq.
   6                                      FEGAN SCOTT LLC
   7                                      150 S. Wacker Dr., 24th Floor
                                          Chicago, Illinois 60606
   8                                      Telephone: 312.741.1019
   9                                      Fax: 312.264.0100
                                          Email: beth@feganscott.com
  10

  11                                   By: /s/ Kenneth B. McClain
                                          Kenneth B. McClain, Esq.
  12                                      HUMPHREY FARRINGTON & McCLAIN
  13                                      221 W. Lexington Ave., Suite 400
                                          Independence, Missouri 64050
  14                                      Telephone: 816.836.5050
  15                                      Facsimile: 816.836.8966
                                          Email: kbm@hfmlegal.com
  16

  17                                   By: /s/ Roland Tellis
                                          Roland Tellis, Esq.
  18                                      BARON & BUDD, P.C.
  19                                      15910 Ventura Boulevard, Suite 1600
                                          Encino, California 91436
  20                                      Telephone: 818.839.2333
  21                                      Facsimile: 214.523.5500
                                          Email: rtellis@baronbudd.com
  22

  23                                       Consumer Class Action Leadership Counsel
                                           and Counsel for Plaintiffs
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           NOTICE OF LODGING OBJECTIONS AND INTENTIONS TO APPEAR AT FAIRNESS HEARING
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